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                                                                                   2022 May-02 PM 03:43
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BETH BOYANTON,                           )
individually,                            )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )    Civil Action No. ________________
                                         )
SUN ENTERPRISES HOLDING,                 )
INC., a foreign corporation,             )
                                         )
     Defendant.                          )
______________________________

                                   COMPLAINT

      Plaintiff, Beth Boyanton (hereinafter “Plaintiff” and/or “Ms. Boyanton”) sues

Defendant, Sun Enterprises Holding, Inc., a foreign corporation (hereinafter

“Defendant”), for injunctive relief, attorneys’ fees, litigation expenses, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq.

(hereinafter “ADA”), and the ADA Accessibility Guidelines, 28 C.F.R. Part 36

(hereinafter “ADAAG”). In support, Plaintiff respectfully submits the following:

                         JURISDICTION AND VENUE

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the subject matter

of this action pursuant to 28 U.S.C. §§§ 1331, 1343(a)(3) and 1343(a)(4) for

violations of Title III of the ADA.
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       2.     Venue is proper in the Northern District of Alabama pursuant to 28

U.S.C. § 1391(b) because the real property that is the subject of this action is in this

district and all events giving rise to this lawsuit occurred in this judicial district.

                                       PARTIES

       3.     Plaintiff is an independent, of age, Alabama resident with a mobility

disability requiring her to use a wheelchair for mobility. Plaintiff’s condition

constitutes a physical impairment which impacts and substantially limits the major

life activity of walking. Therefore, Ms. Boyanton qualifies as an “individual with

disabilities” as defined by the ADA.

       4.     In addition to self-advocacy, Ms. Boyanton is also an independent

advocate for the rights of similarly situated disabled persons and is a “tester” for the

purpose of enforcing her civil rights, monitoring, determining, and uncovering

discriminatory barriers to equal access for the purpose of ensuring the accessibility

of public accommodations for wheelchair users, such as herself, as mandated by the

ADA. Ms. Boyanton’s motivation to return to a specific location stems, in part, from

her desire to utilize ADA litigation to make areas that she frequents more accessible

for herself and others. Having filed this lawsuit, Ms. Boyanton will hereafter

regularly and frequently perform visual inspections of the subject property with the

intent to enter, shop and evaluate the site when/if it is repaired and made accessible

to wheelchair users as required by the ADA.
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       5.     Defendant, Sun Enterprises Holding, Inc., is a foreign corporation

registered to do business and doing business in the State of Alabama and within this

judicial district.

       6.     Defendant is the owner or lessor and/or operator or lessee of the real

property and improvements which is the subject of this action. Specifically,

Defendant owns Whataburger, a fast-food restaurant located at 1603 Main Street,

Fultondale, Alabama, 35068, its attendant facilities, including vehicular parking and

exterior paths of travel within the parcel. The subject premises is identified by

Jefferson County Assessor’s office as Parcel No. 14-00-25-4-009-005.000

(hereinafter the “Subject Property” and/or “Subject Facility” and/or “Subject

Premises”).

                                      FACTS

       7.     The parking spaces, exterior paths of travel, entrance/exit doorways,

restroom facilities, and other customer areas and goods/services are examples of the

services, facilities, privileges, advantages, and opportunities offered to able-bodied

patrons of Defendant’s Subject Property.

       8.     Ms. Boyanton resides in Jefferson County, Alabama and only a short

distance from the offending Defendant’s property location.
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      9.    Prior to and in April 2022, and continuously from that time to the

present, the Subject Property has failed to comply with the ADA and its

implementing regulations.

      10.   A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and prevented her full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Subject Property include, but are not limited to:

                               ACCESSIBLE PARKING

            a.     Both of the two (2) accessible parking spaces are
                   not level in all directions and have areas of uneven
                   and/or broken pavement because of Defendant’s
                   practice of failing to inspect and maintain the
                   accessible parking surfaces in violation of 28 CFR
                   § 36.211, Sections 4.5.1 and 4.6.3 of the 1991
                   ADAAG and Sections 302 and 502.4 of the 2010
                   ADAAG. This violation made it dangerous for
                   Plaintiff to utilize the parking facility at the Subject
                   Property and caused Plaintiff to suffer feelings of
                   isolation, social exclusion, and loss of opportunity.

            b.     The shared access aisle serving both of the two (2)
                   designated accessible parking spaces is not level in
                   all directions in violation of 28 CFR § 36.211,
                   Section 4.6.3 of the 1991 ADAAG and Sections 302
                   and 502.4 of the 2010 ADAAG. This violation
                   made it dangerous for Plaintiff to utilize the parking
                   facility at the Subject Property and caused Plaintiff
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          to suffer feelings of isolation, social exclusion, and
          loss of opportunity.

                 ACCESSIBLE ROUTES/RAMPS

    c.    The curb ramp to the public entrance/exit doors (the
          only means of access for wheelchair users) has a
          running slope which exceeds the maximum slope
          requirement (8.33%) set forth in Section 4.7.2 of the
          1991 ADAAG and Section 406.1 of the 2010
          ADAAG. This violation prevented safe access to
          Plaintiff and caused Plaintiff to suffer feelings of
          isolation, social exclusion, and loss of opportunity.

    d.    There are unbeveled vertical transitions in the
          pavement within the accessible route from the
          parking facility to the “storefront” curb which
          exceed ¼ inches due to the defendant’s failure to
          maintain said pavement as it ages violating 28 CFR
          § 36.211, Section 4.3.8 of the 1991 ADAAG, and
          Section 406.2 of the 2010 ADAAG. This violation
          prevented safe access to Plaintiff and caused
          Plaintiff to suffer feelings of isolation, social
          exclusion, and loss of opportunity.

    e.    There are compound cross slopes at the curb ramp’s
          changes in direction in violation of Section 4.8 of
          the 1991 ADAAG and Section 405.4 of the 2010
          ADAAG. This violation prevented safe access to
          Plaintiff and caused Plaintiff to suffer feelings of
          isolation, social exclusion, and loss of opportunity.

    f.    The available paths of travel from the designated
          accessible parking spaces to the public entrance/exit
          doors are inaccessible to wheelchair users due to
          unpermitted slopes and/or changes in level in
          violation of Section 4.5.2 of the 1991 ADAAG and
          Sections 206.2.2, 303 and 304 of the 2010 ADAAG.
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          This violation prevented safe access to Plaintiff and
          caused Plaintiff to suffer feelings of isolation, social
          exclusion, and loss of opportunity.

                     ACCESSIBLE ENTRANCE

    g.    The public entrance/exit doors have mechanical
          door closers that cause the doors to close too
          quickly. Violation: The sweep speed settings of the
          door closers for the public entrance/exit doors have
          not been maintained properly by Defendant which
          has caused the doors’ closing speeds to increase
          with time and use so that the time allowed to
          transition the door, from an open position of 90
          degrees to a position of 12 degrees from the latch,
          is too brief to allow individuals with mobility
          impairments to enter and/or exit safely,
          independently and/or without difficulty, in violation
          of Section 4.13.10 of the 1991 ADAAG and Section
          404.2.8 of the 2010 ADAAG. This accessible
          feature is not being maintained by Defendant in
          violation of 28 C.F.R. § 36.211. These violations
          prevented equal access to Plaintiff and caused
          Plaintiff to suffer feelings of isolation, social
          exclusion, and loss of opportunity.

                    ACCESSIBLE RESTROOMS

    h.    The accessible restrooms have door closers that
          cause the restroom entry/exit door to close too
          quickly. Violation: The sweep speed settings of the
          door closers for the accessible restroom doors have
          not been maintained properly by Defendant which
          has caused the door closing speeds to increase with
          time and use so that the time allowed to transition
          the doors, from an open position of 90 degrees to a
          position of 12 degrees from the latch, is too brief to
          allow individuals with mobility impairments to
          enter and/or exit the accessible restrooms safely,
          independently and/or without difficulty in violation
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          of Section 4.13.10 of the 1991 ADAAG and Section
          404.2.8 of the 2010 ADAAG. This accessible
          feature is not being maintained by Defendant in
          violation of 28 CFR § 36.211. These violations
          prevented equal access to Plaintiff and caused
          Plaintiff to suffer feelings of isolation, social
          exclusion, and loss of opportunity.

    i.    The pressure settings on the accessible restroom
          door closers have not been maintained properly by
          Defendant which has caused the pressure required
          to open/close the restroom doors to increase with
          time and use such that the restroom doors require
          excessive force to open. Violation: The accessible
          restroom doors require more than the maximum
          allowable opening force for an interior hinged door
          (5 foot pounds-force) in violation of Section 4.13.11
          of the 1991 ADAAG and Section 404.2.9 of the
          2010 ADAAG Standards. This accessible feature is
          not being maintained by Defendant in violation of
          28 CFR § 36.211. These violations prevented equal
          access to Plaintiff and caused Plaintiff to suffer
          feelings of isolation, social exclusion, and loss of
          opportunity.

    j.    The toilet is mounted too far from the near side wall.
          Violation: The toilet is mounted at a noncompliant
          distance from the near side wall in violation of
          Section 4.16.2 of the ADAAG and Section 604.2 of
          the 2010 ADAAG. This violation prevented access
          to the restroom facilities equal to that of able-bodied
          individuals and in so doing caused Plaintiff undue
          upset and loss of opportunity.

                   MAINTENANCE PRACTICES

    k.    Defendant has a practice of failing to maintain the
          accessible features of its facility, creating barriers to
          equal access for Plaintiff, as set forth herein, in
          violation of 28 C.F.R. § 36.211. This practice
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          prevented access to Plaintiff equal to that of
          Defendant’s able-bodied customers causing
          Plaintiff to suffer feelings of isolation, social
          exclusion, and loss of opportunity.

    l.    Defendant has a practice of failing to maintain the
          accessible elements at the Subject Facility by
          neglecting their continuing duty to review, inspect,
          and discover transient accessible elements which by
          the nature of their design or placement, frequency
          of usage, passage of time, exposure to weather
          and/or other factors, are prone to shift from
          compliant to noncompliant so that said elements
          may be discovered and remediated. Defendant
          failed, and continue to fail, to alter their inadequate
          maintenance practices to prevent future recurrence
          of noncompliance with their dynamic accessible
          elements in violation of 28 C.F.R. § 36.211, the
          1991 ADAAG, and the 2010 ADAAG. These
          violations made it impossible for Plaintiff to
          experience the same access to the goods, services,
          facilities,    privileges,        advantages       and
          accommodations of the Subject Facility as
          Defendant’s able-bodied patrons and caused
          Plaintiff to suffer feelings of isolation, social
          exclusion, and loss of opportunity.

    m.    Defendant has failed to modify its discriminatory
          maintenance practices to ensure that, pursuant to its
          continuing duty under the ADA, the Subject
          Property remains readily accessible to and usable by
          disabled individuals, including Plaintiff, as set forth
          herein, in violation of 28 C.F.R. § 36.302 and
          36.211. This failure by Defendant prevented access
          to Plaintiff equal to that of Defendant’s able-bodied
          customers causing Plaintiff to suffer feelings of
          isolation, social exclusion, and loss of opportunity.
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      11.    The discriminatory violations described above are not an exhaustive list

of Defendant’s current barriers to equal access and violations of the ADA because

Plaintiff was unable to access and assess all areas of the Subject Premises herself

due to the architectural barriers present and encountered. A complete list of the

Subject Property’s ADA violations affecting Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by

Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once

Plaintiff personally encounters discrimination, as alleged herein, or learns of

discriminatory violations through expert findings of personal observation, she has

actual notice that Defendant does not intend to comply with the ADA.

      12.    Defendant’s architectural barriers fail to meet the minimum

requirements of the 1991 ADAAG, and the 2010 ADAAG, as adopted by the U.S.

Department of Justice. In instances where the 2010 ADAAG standards do not apply,

the 1991 ADAAG standards apply, and the alleged violations set forth herein can be

modified by Defendant to comply with the 1991 ADAAG standards.

      13.    Ms. Boyanton personally encountered, engaged and/or observed, or

was deterred from engaging, one and/or all of the barriers described above on

numerous prior occasions and most recently in April 2022. In engaging the barriers

where she could judiciously do so and observing those which were visible where she

could not, Plaintiff suffered legal harm and legal injury by being denied equal access
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and use of the Subject Property’s products and services. She will continue to suffer

such harm and injury as a result of the barriers to equal access and ADA violations

that persist at Defendant’s business location until the violations are corrected.

      14.    Plaintiff’s access to the Subject Property and/or her full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited strictly because of Ms.

Boyanton’s disabilities. She will continue to be denied and/or limited in the future

unless Defendant is compelled to remove the physical barriers to access and correct

the ADA violations that are noted and described in this Complaint.

      15.    Plaintiff has visited and/or been deterred from visiting the Subject

Property on multiple prior occasions, most recently in April 2022. Having now filed

suit, Plaintiff intends to perform visual inspections of the Subject Property when she

is in the area of the facility, which occurs frequently. Ms. Boyanton intends to enter

the restaurant as soon as the barriers to access and ADA violations detailed in this

Complaint are removed.

      16.    Plaintiff intends on revisiting the Subject Property as a regular patron

to enjoy the same opportunities, goods, and services available to Defendant’s non-

disabled patrons and she will visually inspect the Subject Property as a tester, but

will not continue to repeatedly re-expose herself to the ongoing barriers to equal

access and engage in the futile gesture of attempting to enter the location, a business
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of public accommodation, known to Plaintiff to have numerous and continuing ADA

violations and unsafe barriers to equal access for wheelchair users.

                                     COUNT I

      17.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, at that time, if a defendant had 10 or fewer employees and gross

receipts of $500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      18.    The Subject Property is a public accommodation and service

establishment as defined by the ADA. 42 U.S.C. § 12181.

      19.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      20.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993—see above). 42 U.S.C. § 12181 et seq.;

28 C.F.R. § 36.508(a).

      21.    The Subject Property must be, but it is not, in compliance with the ADA

and the ADAAG.

      22.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property but could not fully do so because of her disabilities and the physical

barriers to access, dangerous conditions and ADA violations that are allowed to exist

at Defendant’s Subject Property. These illegal conditions preclude and/or limit Ms.
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Boyanton’s safe and equal access to the goods, services, facilities, privileges,

advantages and/or accommodations offered therein. These barriers, conditions and

ADA violations are specifically set forth in this Complaint.

      23.    Plaintiff intends to visit the Subject Property again in the very near

future and frequently thereafter for civil rights “tester” purposes, but also with the

desire to gain equal access to and be able to have the opportunity to utilize the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Subject Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Subject Property that preclude and/or limit her access to

the Subject Property and/or the goods, services, facilities, privileges, advantages

and/or accommodations offered therein, including those barriers, conditions and

ADA violations specifically set forth in this Complaint.

      24.    Defendant has discriminated against Plaintiff (and others with mobility

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Subject

Property, as prohibited by, and by failing to remove architectural barriers as required

by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      25.    Defendant will continue to discriminate against Plaintiff (and others

with mobility disabilities) unless and until it is compelled to remove all physical
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barriers to equal access and the other ADA violations that exist at the Subject

Property, including those specifically set forth herein, thereby making the Subject

Property accessible to and usable by Plaintiff and other wheelchair users.

      26.    Removal of those barriers to equal access, dangerous conditions, and

ADA violations that were constructed prior to January 26, 1992, is readily

achievable and can be accomplished and carried out without much difficulty or

expense to this Defendant. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9);

28 C.F.R. § 36.304.

      27.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable, in part, because of the relative low cost of the

necessary modifications and the fact that Defendant has the financial resources to

make such modifications, even if only taking into account the annual $5,000.00 tax

credit and $15,000.00 tax deduction ($20,000.00 every year) made available to

Defendant by the government pursuant to Sections 44 and 190 of the IRS Code.

      28.    By continuing to operate the Subject Premises with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiff’s sense of

isolation and segregation and deprives Plaintiff of the full and equal enjoyment of

the goods, services, facilities, privileges, and accommodations available to able-

bodied individuals of the general public.
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      29.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 C.F.R.

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 C.F.R. § 36.402. Finally, if Defendant’s facilities were designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28

C.F.R. § 36.401, then Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      30.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Subject Property, including those

alleged herein. Considering the balance of hardships between Plaintiff and

Defendant, a remedy in equity is warranted.

      31.    Plaintiff’s requested relief serves the public interest.
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      32.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation, including expert fees, from Defendant pursuant to 42 U.S.C.

§§ 12188, 12205 and 28 C.F.R. § 36.505. Plaintiff will be denied full and equal

access to the Subject Premises as provided by the ADA unless the injunctive relief

requested herein is granted.

      33.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including, but not limited to, an Order to alter the

Subject Facility to make it readily accessible to, and useable by, individuals with

disabilities to the extent required by the ADA, an Order closing the Subject Facility

until the requisite modifications are completed, and an Order directing Defendant to

fulfill its continuing duty to maintain the accessible features at the Subject Premises

in the future as mandated by 28 C.F.R. § 36.211.

      WHEREFORE, Plaintiff prays as follows:

      A.     That the Court find Defendant, Sun Enterprises Holding, Inc., in

violation of the ADA and ADAAG;

      B.     That the Court enter an Order requiring Defendant to (i) remove the

physical barriers to equal access and (ii) alter the Subject Property to make it readily

accessible to and useable by individuals with disabilities to the full extent required

by Title III of the ADA;
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      C.     That the Court enter an Order directing Defendant, pursuant to 28

C.F.R. § 36.211, to fulfill its continuing duty to maintain and repair its accessible

features and equipment in the future so that its property remains accessible to and

useable by individuals with disabilities in the future, to the full extent required by

Title III of the ADA;

      D.     That the Court enter an Order directing Defendant to implement and

carry out effective policies, practices, and procedures to maintain and repair its

accessible features and equipment in the future pursuant to 28 C.F.R. § 36.302 and

28 C.F.R. § 36.211;

      E.     That the Court enter an Order directing Defendant to evaluate and

neutralize its policies, practices and procedures towards persons with disabilities for

such reasonable time so as to allow it to undertake and complete corrective activity;

      F.     That the Court award attorneys’ fees, costs (including expert fees), and

litigation expenses pursuant to 42 U.S.C. § 12205;

      G.     That the Court award interest upon the original sums of said award of

attorneys’ fees, costs (including expert fees), and other expenses of suit; and

      H.     That the Court award such other relief as the Court deems just and

proper, and/or is allowable, under Title III of the Americans with Disabilities Act.

      Dated this the 2nd day of May, 2022.
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                              Respectfully submitted,

                         By: /s/ Andrew J. Smithart III______________
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                         By: /s/ John Allen Fulmer II_______________
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